Case 1:21-cr-00167-APM Document1 Filed 03/01/21 Page 1 of 7

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on January 28, 2021
UNITED STATES OF AMERICA : CRIMINAL NO.
v. : GRAND JURY ORIGINAL
SINCERE HOWARD, and : VIOLATIONS:
GARRETT HAWKINS, : 180U.S.C.§371
: (Conspiracy to Commit Kidnapping)
Defendants. : 18 U.S.C. § 1201(a)(1)
: (Kidnapping)
: 18U.S.C. § 2261A(2)
(Cyber Stalking)
FORFEITURE:
18 U.S.C. § 924(d), 21 U.S.C. § 853(p),
and 28 U.S.C. § 2461(c)
INDICTMENT
The Grand Jury charges that:
COUNT ONE
The Conspiracy
Beginning on or about January 23, 2021 and continuing until on or about January 24, 2021,
within the District of Columbia, SINCERE HOWARD and GARRETT HAWKINS, did, along
with others known and unknown to the Grand Jury, did unlawfully and willfully combine,
conspire, confederate, and agree together and with other persons, to commit certain offenses
" against the United States, to wit: seizing, confining, kidnapping, abducting, inveigling, carrying
away, or holding Rodre Holloway in exchange for the return of an allegedly stolen Sony

Playstation 4 or reimbursement for the gaming console, and, in committing or in furtherance of

the commission of the offense, SINCERE HOWARD and GARRETT HAWKINS also used the

 

 
Case 1:21-cr-00167-APM Document1 Filed 03/01/21 Page 2 of 7

mail or any means, facility, or instrumentality of interstate or foreign commerce in committing or
in furtherance of the commission of the offense, in violation of Title 18, United States Code,
Section 1201(a)(1).

Goals and Objects of the Conspiracy

It was the goal of the conspiracy that the conspirators agreed to use force and violence to
seize, confine, kidnap, abduct, inveigle, carry away, and hold Rodre Holloway because the
conspirators alleged that Rodre Holloway had stolen a Sony PlayStation 4, and to punish him for
the alleged theft (or to seek reimbursement of the gaming console), used a firearm, an extension
cord, a belt, shod foot, to commit the crime. The conspirators’ further goal was to broadcast the
crime on live social media, in order to generate support for their actions, and thus, used an
instrumentality of interstate commerce to further the commission of the offense.

Manner and Means of the Conspiracy

The defendants, SINCERE HOWARD and GARRET HAWKINS, used the following
manner and means to accomplish the object of the conspiracy:

l. It was part of the conspiracy that the defendants, SINCERE HOWARD and
GARRET HAWKINS, would and did play different roles in the conspiracy, and took upon
themselves different tasks and participated in the conduct of the conspiracy through various
criminal acts. The defendants targeted Rodre Holloway after Rodre Holloway walked into the
apartment of a female acquaintance on January 23, 2021, located at a residence within the District
of Columbia.

2. It was further a part of the conspiracy that the defendants, SINCERE HOWARD

and GARRET HAWKINS, would keep Rodre Holloway against his will at that apartment in

 
Case 1:21-cr-00167-APM Document1 Filed 03/01/21 Page 3 of 7

retaliation for allegedly stealing a gaming console which the co-conspirators believed Rodre
Holloway used as a means to obtain marijuana.

3. It was further a part of the conspiracy that the defendants, SINCERE HOWARD
and GARRET HAWKINS, in retaliation for the perceived theft, agreed to assault the Rodre
Holloway repeatedly, using various implements as means to punish Rodre Holloway. As part of
the defendants’ manner to conspire, the defendants informed Rodre Holloway that he could not
leave the apartment until Rodre Holloway provided them with “reimbursement” for the gaming
console.

Overt Acts

l. Beginning of January 23, 2021, the defendants SINCERE HOWARD and
GARRET HAWKINS, did unlawfully and willfully seize, confine, kidnap, abduct, inveigle, carry
away, and hold Rodre Holloway

2. The defendants SINCERE HOWARD and GARRETT HAWKINS confronted
the Rodre Holloway, on January 23, 2021, about Rodre Holloway’s alleged theft of a Sony
PlayStation 4. The defendants stripped Rodre Holloway naked, poured cold water on him, and
forced him into a bathtub full of cold water.

3. The defendants SINCERE HOWARD and GARRETT HAWKINS then took
Rodre Holloway to a small closet within the apartment and forced him to sleep there overnight,
propping up a desk against the door to prevent Rodre Holloway from leaving.

4, The defendants SINCERE HOWARD and GARRETT HAWKINS continued to
keep Rodre Holloway at the apartment against his will the following morning, January 24, 2021,

and began to assault Rodre Holloway about his head, face, and body.
Case 1:21-cr-00167-APM Document1 Filed 03/01/21 Page 4 of 7

5. Continuing on January 24, 2021, Defendant SINCERE HOWARD began
broadcasting the victim’s continued confinement and violent assault in the apartment using the
social media app Instagram on Defendant SINCERE HOWARD’s phone, using Instagram’s
livestream function to capture the kidnapping and violent assault of Rodre Holloway

6. Continuing on January 24, 2021, Defendant SINCERE HOWARD obtained an
electrical extension cord and wrapped it around the hands and feet of Rodre Holloway, after which
Defendant SINCERE HOWARD began pulling on the cord to contort Rodre Holloway’s arms
and legs, causing Rodre Holloway visible pain, while Defendant GARRETT HAWKINS was
filming these acts on Defendant SINCERE HOWARD’s phone and broadcasting them on his
Instagram account.

7. Continuing on January 24, 2021, Defendant SINCERE HOWARD, while holding
the extension cord that was restraining Rodre Holloway, put one of his boots on Rodre Holloway’s
head and began digging and grinding the boot into the scalp of Rodre Holloway before appearing
to place HOWARD’s body weight on Rodre Holloway’s skull, while DEFENDANT HAWKINS
filmed the assault and broadcasted the assault on Instagram.

8. Defendants SINCERE HOWARD and GARRETT HAWKINS, at various points
during the Instagram livestream, entertained requests by the livestream’s viewers as to what
assaultive acts they should do to Rodre Holloway Furthermore, the defendants commented that if
the defendants’ livestream had reached a specific number of viewers they would engage in further
violence against Rodre Holloway, including by forcing his head into a toilet, and coerce him into

engaging in additional humiliating behavior, such as stripping nude while being recorded.
Case 1:21-cr-00167-APM Document1 Filed 03/01/21 Page 5 of 7

9. Defendant SINCERE HOWARD forced Rodre Holloway to strip off his clothes
in the apartment’s bathroom, after which HOWARD handed a belt to co-conspirator
GARRETT HAWKINS, who then used the belt to whip the back of the Rodre Holloway multiple
times, all while the events were being captured and streamed via Instagram.

10. Defendant SINCERE HOWARD then took Rodre Holloway and forcibly put his
head in the bathroom’s toilet multiple times and compelled the victim to drink the toilet water,
while Rodre Holloway was bleeding from his mouth from his injuries caused by the defendants.

11. Defendant SINCERE HOWARD was seen on the livestream with a noticeable
bulge protruding from his waistband and t-shirt. At one point during the course of the broadcast,
SINCERE HOWARD briefly lifted up his shirt to display a tan-color firearm which
SINCERE HOWARD previously displayed and brandished on prior videos he put on his
Instagram account. When Metropolitan Police Department officers surrounded and made entry
into the apartment on January 24, 2021, they discovered a loaded PT111 G2 Taurus, 9mm semi-
automatic firearm with an extended magazine containing eleven cartridges in the single bedroom of
the apartment. This firearm appears to be the same firearm that was previously seen on Instagram.
The victim, Rodre Holloway, indicated to law enforcement that he did not feel free to leave the
apartment beginning on January 23, 2021 up until the time of his rescue on January 24, 2021
because he knew that SINCERE HOWARD carried a firearm and he may be further harmed if he
attempted to leave and had seen an extended magazine while he was in the apartment during the
course of the kidnapping.

(Conspiracy to Commit Kidnapping, in violation of Title 18, United States Code,
Section 371)
Case 1:21-cr-00167-APM Document1 Filed 03/01/21 Page 6 of 7

COUNT TWO

Beginning on or about January 23, 2021 and continuing until January 24, 2021, within the
District of Columbia, SINCERE HOWARD and GARRETT HAWKINS, did unlawfully and
willfully seize, confine, kidnap, abduct, inveigle, carry away, and hold Rodre Holloway, and, in
committing or in furtherance of the commission of the offense, SINCERE HOWARD and
GARRETT HAWKINS used the mail or any means, facility, or instrumentality of interstate or
foreign commerce — to wit: Instagram — in committing or in furtherance of the commission of the
offense.

(Kidnapping, in violation of Title 18, United States Code, Section 1201(a)(1))

COUNT THREE
Beginning on or about January 23, 2021, through on or about January 24, 2021, within the

District of Columbia, defendants SINCERE HOWARD and GARRETT HAWKINS, with the
intent to kill, injure, harass, intimidate, and place under surveillance with the intent to kill, injure,
harass, or intimidate another person, namely, Rodre Holloway, did use — any interactive computer
service, electronic communication service, and electronic communication system of interstate
commerce, or, any other facility of interstate commerce — to engage in a course of conduct that
places that person in reasonable fear of death or serious bodily injury or causes, attempts to cause,
or would be reasonably expected to cause substantial emotional distress to that person.

(Cyber Stalking, in violation of Title 18, United States Code, Section 2261 A(2))

FORFEITURE ALLEGATION
I. Upon conviction of the offense alleged in Count One of this Indictment, the

defendant shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d)
Case 1:21-cr-00167-APM Document1 Filed 03/01/21 Page 7 of 7

and Title 28, United States Code, Section 2461(c), any firearms and ammunition involved in or
used in the knowing commission of the offense, including but not limited to a loaded PT111 G2
Taurus, 9mm semi- automatic firearm; a magazine; and 9mm ammunition.
2. If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendant:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property that cannot be subdivided
without difficulty;
the defendant shall forfeit to the United States any other property of the defendant, up to the value
of the property described above, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 28, United States Code, Section 2461(c).
(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 21,
United States Code, Section 853(p), and Title 28, United States Code, Section
2461(c))

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia.
